                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       AUG 27 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                       No. 24-2027
                                                D.C. No.
             Plaintiff - Appellee,              3:12-cr-00015-HDM-CLB -1
 v.
                                                MEMORANDUM*
RANDY MACARIO ANCHETA,

             Defendant - Appellant.

                   Appeal from the United States District Court
                            for the District of Nevada
                  Howard D. McKibben, District Judge, Presiding

                           Submitted August 20, 2024**

Before:      S.R. THOMAS, RAWLINSON, and COLLINS, Circuit Judges.

      Randy Macario Ancheta appeals pro se from the district court’s order

denying his motion for compassionate release under 18 U.S.C. § 3582(c)(1)(A)(i).

We have jurisdiction under 28 U.S.C. § 1291, and we affirm.

      Ancheta argues that he presented extraordinary and compelling reasons for


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
compassionate release, including that he is serving an unusually long sentence, has

caretaking responsibilities, has suffered abuse in prison, and has rehabilitated. The

district court concluded that, even if Ancheta had shown extraordinary and

compelling reasons, the 18 U.S.C. § 3553(a) factors did not support relief given the

violent nature of the underlying offenses. This was not an abuse of discretion. See

United States v. Keller, 2 F.4th 1278, 1281, 1284 (9th Cir. 2021) (stating standard

of review and explaining that a district court may deny compassionate release on

the basis of the § 3553(a) factors alone); see also United States v. Robertson, 895

F.3d 1206, 1213 (9th Cir. 2018) (the district court abuses its discretion only if its

decision is illogical, implausible, or not supported by the record). Moreover,

contrary to Ancheta’s contention, the government’s failure to make arguments

regarding the § 3553(a) factors and Ancheta’s rehabilitation did not require the

district court to conclude that those factors weighed in Ancheta’s favor.

      AFFIRMED.




                                         2                                    24-2027
